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                                    EXHIBIT 2

                            Lightning Transportation, Inc.




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